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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-cv-02168-WYD-MJW

  ROBERT A. PFAFF,

  Plaintiff(s),

  v.

  UNITED STATES OF AMERICA,

  Defendant(s).

                  ORDER SETTING SCHEDULING/PLANNING CONFERENCE


  Entered by U.S. Magistrate Judge Michael J. Watanabe

        The above-captioned case has been referred to Magistrate Judge Michael J.
  Watanabe pursuant to the Order Referring Case, entered by Judge Wiley Y. Daniel on
  August 14, 2013 (Docket No. 4).

        IT IS HEREBY ORDERED that a Scheduling/Planning Conference pursuant to
  Fed.R.Civ.P.16(b) shall be held on:


                             November 14, 2013, at 9:00 a.m.
                                   in Courtroom A-502,
                                        Fifth Floor,
                             Alfred A. Arraj U.S. Courthouse,
                                      901 19th Street,
                                  Denver, Colorado 80294



         If this date is not convenient for any counsel/pro se party, he/she should confer
  with opposing counsel/pro se party and file a motion to reschedule the conference to a
  more convenient date.

        Absent exceptional circumstances, no request for rescheduling any
  appearance in this court will be entertained unless a motion is filed no less than
  FIVE (5) business days in advance of the date of appearance.

          THE PLAINTIFF SHALL NOTIFY ALL PARTIES WHO HAVE NOT ENTERED
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  AN APPEARANCE OF THE DATE AND TIME OF THE SCHEDULING/PLANNING
  CONFERENCE.

         IT IS FURTHER ORDERED that counsel/pro se parties in this case shall hold a
  pre-scheduling conference meeting and prepare a proposed Scheduling Order in
  accordance with Fed. R. Civ. P.26(f), as amended, and D.C.COLO.LCivR 26.1 on or
  before 21 days prior to scheduling conference. Pursuant to Fed.R.Civ.P.26(d), as
  amended, no discovery shall be sought until after the pre-scheduling conference
  meeting. No later than 5 business days prior to the Scheduling/Planning Conference,
  counsel/pro se parties shall file their proposed Scheduling Order (in PDF) in
  compliance with the ECF Filing Procedures. In addition, on or before 14 days after the
  pre-scheduling conference meeting, the parties shall comply with the mandatory
  disclosure requirements of Fed. R. Civ. P.26(a)(1), as amended.

         Counsel/pro se parties shall prepare the proposed Scheduling Order in
  accordance with the form which may be downloaded in richtext format from the forms
  section of the Court’s website at www.cod.uscourts.gov. Instructions for downloading
  the formats are posted in the forms section of the website. Parties who are pro se or
  do not have access to the internet may visit the Clerk’s Office in Alfred A. Arraj U.S.
  Courthouse, 901 19th Street, Room A-105, Denver, Colorado. (The Clerk’s Office
  telephone number is (303) 844-3433.) Scheduling Orders prepared by parties not
  represented by counsel, or without access to ECF, shall be submitted on paper.

       All out-of-state counsel shall comply with D.C.COLO.LCivR 83.3 prior to the
  Scheduling/Planning Conference.

          It is the responsibility of counsel to notice the court of their entry of appearance,
  notice of withdrawal, notice of substitution of counsel, or notice of change of counsel’s
  address, e-mail address, or telephone number by complying with the ECF Procedures
  and filing the appropriate motion or document with the court.

         Please remember that everyone seeking entry into the Alfred A. Arraj United
  States Courthouse will be required to show valid photo identification. See
  D.C.COLO.LCivR 83.2B. Failure to comply with this requirement will result in denial of
  entry into the Alfred A. Arraj United States Courthouse.

                DONE AND SIGNED THIS 15th DAY OF AUGUST, 2013.

                                             BY THE COURT:

                                             s/Michael J. Watanabe
                                             _____________________________
                                             MICHAEL J. WATANABE
                                             United States Magistrate Judge
